Case 4:09-cr-00193-ALM-BD             Document 278         Filed 10/05/12       Page 1 of 1 PageID #:
                                               985




 UNITED STATES DISTRICT COURT                                   EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                            §
                                                    §
versus                                              §    CRIMINAL ACTION NO. 4:09cr193
                                                    §
ASTRIT BEKTESHI (2)                                 §

                  MEMORANDUM ADOPTING REPORT AND
          RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE
          Came on for consideration the report of the United States Magistrate Judge in this action, this

matter having been heretofore referred to the United States Magistrate Judge pursuant to 28 U.S.C.

§636. On September 11, 2012, the report of the Magistrate Judge was entered containing proposed

findings of fact and recommendations that Defendant's Motion to Withdraw Guilty Plea should be

denied.

          Having received the report of the United States Magistrate Judge, and no objections thereto

having been timely filed, this Court is of the opinion that the findings and conclusions of the

Magistrate Judge are correct and adopts the Magistrate Judge’s report as the findings and conclusions

of the Court. It is accordingly
           .
          ORDERED   that Defendant's Motion to Withdraw Guilty Plea (Dkt. #268) is DENIED.
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.

          SIGNED at Sherman, Texas, this 4th day of October, 2012.




                                              ________________________________________
                                                          MARCIA A. CRONE
                                                   UNITED STATES DISTRICT JUDGE
